Filed 06/10/19                                                                   Case 19-21640                                 Doc 56
     FORM L145
     Notice of Intent to Close Chapter 13 Case Without Entry of Discharge Due to Failure to File               19−21640 − B − 13J
     Certification About A Financial Management Course (Official Form 423) (v.12.15)

                     UNITED STATES BANKRUPTCY COURT
                          Eastern District of California
                                 Robert T Matsui United States Courthouse
                                         501 I Street, Suite 3−200
                                          Sacramento, CA 95814

                                                     (916) 930−4400
                                                  www.caeb.uscourts.gov
                                                  M−F 9:00 AM − 4:00 PM

                   NOTICE OF INTENT TO CLOSE CHAPTER 13 CASE
         WITHOUT ENTRY OF DISCHARGE DUE TO FAILURE TO FILE CERTIFICATION
            ABOUT A FINANCIAL MANAGEMENT COURSE (OFFICIAL FORM 423)

     Case Number:                19−21640 − B − 13J
     Debtor Name(s) and Address(es):


         Debora Leigh Miller−Zuranich
         9369 Newington Way
         Elk Grove, CA 95758

         Under the Federal Rules of Bankruptcy Procedure, the Clerk of the Court may close a chapter 13
         case without entry of a discharge if Official Form 423, Certification About A Financial Management
         Course, is not filed by the debtor(s) on or before the date the last payment is made by the debtor(s)
         as required by the plan and the case is otherwise ready to be closed. Forty−five (45) days have now
         passed since the date first set for the meeting of creditors in this case and Official Form 423 has not
         been filed by the debtor(s).

         NOTICE IS HEREBY GIVEN THAT this bankruptcy case may be closed without entry of a discharge
         unless Official Form 423, Certification About A Financial Management Course, or a motion for
         extension of time to file Official Form 423, is filed with the Clerk at the address shown above, no
         later than the date the last payment is made by the debtors as required by the plan. Once the case
         is closed without entry of a discharge, obtaining a discharge will require the filing of Official Form
         423, together with a motion to reopen the case and payment of a reopening fee (currently $235.00 in
         a chapter 13 case).
         Official Form 423 is printed on the reverse of this notice for your convenience. It is also
         available under "Official Forms" on the Forms and Publications page of the court's web site
         (www.caeb.uscourts.gov).

     Dated: 6/10/19                                                                        Wayne Blackwelder
                                                                                           Clerk of Court
Filed 06/10/19                                                            Case 19-21640                                                                                 Doc 56
    Fill in this information to identify the case:
     Debtor 1             Debora Leigh Miller−Zuranich

                          First Name                 Middle Name                    Last Name


     Debtor 2
     (Spouse, if filing) First Name                  Middle Name                    Last Name

     United States Bankruptcy Court       Eastern District of California
     Case number:         19−21640



    Official Form 423                                                                                                                                              12/15

    Certification About a Financial Management Course
    If you are an individual, you must take an approved course about personal financial management if:

     •   you filed for bankruptcy under chapter 7 or 13, or
     •   you filed for bankruptcy under chapter 11 and § 1141 (d)(3) applies.
    In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

    After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If the provider
    does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each file this form with the
    certificate number before your debts will be discharged.

     •   If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
         Bankruptcy Code.
     •   If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that you plan requires or before you file a
         motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
    In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a motion with
    the court and obtain a court order.

         Part 1:       Tell the Court About the Required Course


    You must check one:

           I completed an approved course in personal financial management:

                          Date I took the course                                   _________________
                                                                                    MM / DD / YYYY

                          Name of approved provider                                ______________________________________________________

                          Certificate number                                       ______________________________________________________

           I am not required to complete a course in personal financial management because the court has granted my motion for a waiver of the
           requirement based on (check one):

                   Incapacity.                 I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                               about finances.

                   Disability.                 My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                               phone, or through the internet, even after I reasonably tried to do so.

                   Active duty.                I am currently on active military duty in a military combat zone.

                   Residence.                  I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                               instructional courses cannot adequately meet my needs.


         Part 2:       Sign Here



            I certify that the information I have provided is true and correct.


           __________________________________________                    __________________________________________                   Date ______________________
            Signature of debtor named on certificate                     Printed name of debtor                                             MM / DD / YYYY



     Official Form 423                                      Certification About a Financial Management Course
